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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JOHN FAY and JANICE FAY,

           Plaintiffs,

v                                              Case No.: 2:19-cv-10902
                                               Hon. George Caram Steeh
WARREN HOSPITALITY SUITES,
a Michigan Corporation,

           Defendant.


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        DEFENDANT WARRANT HOSPITALITY SUITES, INC.’S
               EXPERT WITNESS DISCLOSURES
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      NOW COMES Defendant Warren Hospitality Suites, Inc., by and through its

attorneys, Plunkett Cooney, and hereby submits its Expert Witness Disclosures, as

follows:


                          Disclosure of Retained Experts
                            Fed. R. Civ. P. 26(a)(2)(B)

      Defendant has retained and may call the following witnesses to present

evidence under Federal Rule of Evidence 702, 703 or 705 at time of trial:

           1. Jonathan Silver Rutchik, MD, 35 Miller Avenue, #331, Mill Valley, CA

              94941(Neurology      and       Electromyography,   Neurotoxicology,

              Occupational and, Environmental Medicine);

           2. Jose Marcos Lafosse, PhD, Lafosse Neuropsychology, LLC, 4251

              Kipling Street, Suite 565, Wheat Ridge, CO 80033 (Neuropsychology)

           3. John Alfonsi, 4111 Andover Road West Third Floor, Bloomfield Hills,

              MI 48302 (Economics);

           4. Gaurang Shah, MD, FACR, FASFNR. Professor of Radiology

              University of Michigan Health System, B2A209 1500 E Medical

              Center Drive, Ann Arbor, MI 48109 (Neuroradiology)

      Defendant will serve available expert reports contemporaneously and

outstanding reports as soon they are completed and received.



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                      Disclosure for Non-Retained Experts
                           Fed. R. Civ. P. 26(a)(2)(C)

      Defendant may call the following witnesses, who have not been retained or

specially employed, to provide expert testimony in this case and present evidence

under Federal Rule of Evidence 702, 703 or 705 at time of trial:



1.    Michael Saxerud, OD;

      a.    The subject matter on which the witness is expected to present evidence:

      Dr. Saxerud is expected to testify about the nature and degree of Plaintiffs

injuries, disabilities, his medical history, medical progression, and medical

prognosis, specifically with regard to hyperbaric medicine and the treatment he

provided to them.

      b.    A summary of the facts and opinions to which the witness is expected to
            testify:

      Dr. Saxerud is expected to testify to the facts and opinions contained within

his medical records regarding Plaintiffs and Defendant incorporates those Records

by reference.

2.    James Tyburski, MD;

      a. The subject matter on which the witness is expected to present evidence:

      Dr. Saxerud is expected to testify about the nature and degree of Plaintiffs

injuries, disabilities, his medical history, medical progression, and medical

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prognosis, specifically with regard to hyperbaric medicine and the treatment he

provided to them.

      b.     A summary of the facts and opinions to which the witness is expected to
             testify:

      Dr. Saxerud is expected to testify to the facts and opinions contained within

his medical records regarding Plaintiffs and Defendant incorporates those Records

by reference.

3.    Treating Physicians

      Defendant also intends to call Plaintiffs’ treating physicians at time of trial as

factual witnesses, but does not expect them to provide expert opinion testimony in

this case aside from the facts, opinions, conclusions, diagnoses and prognoses that

were arrived at in the normal course of Plaintiffs’ treatment.

                                        Respectfully submitted,
                                        PLUNKETT        COONEY

Dated: January 14, 2022          By: /s/Justin J. Hakala
                                     Justin J. Hakala (P72996)
                                     Attorney for Defendant
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                               CERTIFICATE OF SERVICE

      I hereby certify that on January 14, 2022 I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system which will send notification

of such filing to all attorneys or parties of record, and I hereby certify that I have

sent copies to all non-ECF parties, if any, by first class U.S. Mail.

                                        Respectfully submitted,
                                        PLUNKETT        COONEY

Dated: January 14, 2022             By: /s/Justin J. Hakala
                                        Justin J. Hakala (P72996)
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